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From: Alison Franciscus <afranciscus813@gmail.com>
Sent: Saturday, November 18, 2023 8:55 PM
To: Bricker, Michael <MBricker@coj.net>; Buffa, Franny
<FBuffa@coj.net>
Subject:



EXTERNAL EMAIL: This email originated from a non-COJ
email address. Do not click any links or open any
attachments unless you trust the sender and know the
content is safe.




Please let me know your position on my returning as a
volunteer. Lucy will have a lot more free time through
December and if my services are no longer wanted, I can
make arrangements for her to arrive earlier and stay
later during the week. Thank you.




                                                                 EXHIBIT 1
